Case 2:15-cv-00998-JRG-RSP Document 94 Filed 06/14/16 Page 1 of 2 PageID #: 364




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                     Plaintiff,                        Civil Action No. 2:15-cv-998
        v.
                                                       JURY TRIAL DEMANDED
 NVIDIA CORPORATION,

                     Defendant.



                          NOTICE OF SETTLEMENT AND
                    UNOPPOSED MOTION TO STAY ALL DEADLINES

        Defendant NVIDIA Corporation notifies the Court that it and Plaintiff Display

 Technologies, LLC have reached an agreement in principle that will resolve all pending claims

 between them. Accordingly, NVIDIA Corporation moves for a stay of all pending deadlines

 among them until and including July 14, 2016 so that the parties may formally finalize the terms

 of their agreement and submit dismissal papers accordingly. This stay is not sought for the

 purpose of delay but so that justice may be served.
Case 2:15-cv-00998-JRG-RSP Document 94 Filed 06/14/16 Page 2 of 2 PageID #: 365




 Dated: June 14, 2016                           Respectfully submitted,

                                                MANN | TINDEL | THOMPSON
                                                300 West Main Street
                                                Henderson, Texas 75652
                                                (903) 657-8540
                                                (903) 657-6003 (fax)



                                          By:          /s/ J. Mark Mann
                                                J. Mark Mann
                                                State Bar No. 12926150
                                                Mark@TheMannFirm.com
                                                G. Blake Thompson
                                                State Bar No. 24042033
                                                Blake@TheMannFirm.com


                                                ATTORNEYS FOR NVIDIA CORPORATION



                              CERTIFICATE OF CONFERENCE

        The undersigned counsel for Defendant, NVIDIA Corporation certifies that he met and

 conferred with counsel for Plaintiff on June 14, 2016 and that Plaintiff’s Counsel agrees with this

 motion.

                                                             /s/ J. Mark Mann
                                                       J. Mark Mann



                                   CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing instrument was served or delivered

 electronically via U.S. District Court [LIVE]- Document Filing System, to all counsel of record,

 on this 14th day of June, 2016.


                                                             /s/ J. Mark Mann
                                                       J. Mark Mann
